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EASTERN DIVISION AT JACKSON

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WILLIE DAVIS,
O: TN V“lv”""i~iIS

Plaintiff
v.

PRISON REALTY TRUST, INC.

a/k/a PRISON REALTY CORPORATION;
CORRECTIONS CORPORATION OF
AMERICA; CORRECTIONAL
MANAGEMENT SERVICES
CORPORATION; PRISON
MANAGEMENT SERVICES, INC.;

and DOCTOR CRANTS,

Case No. 00-1096-Bre/P

Defendants

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AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Ccnference on lurie 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference on June 24, 2005.

Dated: this l day of <lU|/\‘L , 2005.

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UNITED STATES~B-IS:HH€-=F JU-],)r(c}"Em do k q m

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Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 1:00-CV-01096 Was distributed by faX, mail, or direct printing on

 

June 13, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

